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                                                               U.S. Department of Justice

                                                               United States Attorney
                                                               District of New Jersey

______________________________________________________________________________________________________________________________

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                                                               Newark, New Jersey 07102


                                                               July 23, 2020

Via ECF and Electronic Mail
The Honorable John Michael Vazquez
United States District Judge
U.S. Post Office and Courthouse
Federal Square
Newark, New Jersey 07102

Re:      United States v. Melissa Reynolds, a/k/a “Melissa Shawn Reynolds,”
         a/k/a “Melissa James” (Crim. No. 18-687)

Dear Judge Vazquez:

       Please accept this letter in lieu of a more formal submission in response
to the Fourth Motion of Defendant Melissa Reynolds, a/k/a “Melissa Shawn
Reynolds,” a/k/a “Melissa James” (“Defendant”), filed on July 16, 2020 that
requests the Court to extend Defendant’s self-surrender date to Federal
Correctional Institution-Danbury (“FCI-Danbury”) from July 31, 2020 to April
30, 2021 based on the COVID-19 pandemic, her role in training other nurses,
and family circumstances. The United States respectfully opposes this motion
on every ground, and respectfully asserts that Defendant should surrender to
FCI-Danbury on July 31, 2020 to begin serving her sentence.

                                               Factual Background

      On November 14, 2018, Defendant was convicted after pleading guilty to
one count of a dual-object conspiracy to commit mail fraud and bank fraud.
On December 18, 2019, this Honorable Court sentenced Defendant to a term of
imprisonment of one year and one day.

      On January 13, 2020, Defendant filed a letter requesting the Court to
stagger the sentences of her and her co-conspirator husband, Germaine King,
so that so that they could provide care for: Defendant’s minor child, G.J., who
resided with Defendant and King; King’s minor daughter, S.K., who resided
with Defendant and King several nights a week; and King’s mother, N.F., who
resided with Defendant and King. The United States filed an opposition, dated
January 23, 2020, noting that Defendant had failed to adequately demonstrate
that no alternative living arrangements were available. In reply, King wrote
that the reason for the request was due to financial responsibilities. On
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January 27, 2020, after reviewing the parties’ submissions, this Honorable
Court agreed with the United States, and denied Defendant’s and King’s
request for staggered sentences, finding that Defendant and King had failed to
demonstrate that alternative living arrangements were not reasonably
available. (ECF #99). On January 29, 2020, the Court ordered that the Bureau
of Prisons (“BOP”) to designate the start of Defendant’s sentence pursuant to
its regular practice. (ECF #100).

       On March 20, 2020, Defendant filed a second motion to extend her
surrender date from March 27, 2020 to FCI-Danbury based generally on the
COVID-19 pandemic. On March 20, 2020, the Court rescheduled the
surrender date to June 1, 2020. (ECF # 102). On May 22, 2020, Defendant
filed a third motion to extend her surrender date from June 1, 2020. This
motion was also based primarily on the COVID-19 pandemic. With the consent
of the United States, this Honorable Court extended Defendant’s surrender
date to July 31, 2020. (ECF #106).

       On July 16, 2020, Defendant filed a fourth motion to extend her
surrender date.1 This Motion is again based on COVID-19, Defendant’s work
in training nurses, and the purported imminent surgery of Defendant’s mother
in-law. None of these claims merit an extension of the Defendant’s previously-
ordered surrender date.
                   BOP’s Response to the COVID-19 Pandemic

      As this Court is well aware, COVID-19 is an extremely dangerous illness
that has caused many deaths in the United States in a short period of time and
that has resulted in massive disruption to our society and economy. In
response to the pandemic, BOP has taken significant measures to protect the
health of the inmates in its charge.

      BOP has explained that “maintaining safety and security of [BOP]
institutions is [BOP’s] highest priority.” BOP, Updates to BOP COVID-19
Action Plan: Inmate Movement (Mar. 19, 2020), available at
https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

      Indeed, BOP has had a Pandemic Influenza Plan in place since 2012.
BOP Health Services Division, Pandemic Influenza Plan-Module 1: Surveillance
and Infection Control (Oct. 2012), available at
https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf. That protocol is
lengthy and detailed, establishing a multi-phase framework requiring BOP


1 This Motion was filed by new counsel for Defendant and was captioned as a “Motion for
Reconsideration.” A subsequent letter was filed by defense counsel to acknowledge that the
April 30, 2021 surrender date was previously docketed in error, and to retract other
representations made in that letter.

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facilities to begin preparations when there is first a “[s]uspected human
outbreak overseas.” Id. at i. The plan addresses social distancing, hygienic and
cleaning protocols, and the quarantining and treatment of symptomatic
inmates.

      Consistent with that plan, BOP began planning for potential coronavirus
transmissions in January. At that time, the agency established a working
group to develop policies in consultation with subject matter experts in the
Centers for Disease Control, including by reviewing guidance from the World
Health Organization.

       On March 13, 2020, BOP began to modify its operations, in accordance
with its Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the
risk of COVID-19 transmission into and inside its facilities. Since that time, as
events require, BOP has repeatedly revised the Action Plan to address the
crisis.

      BOP’s operations are presently governed by Phase Seven of the Action
Plan. The current modified operations plan requires that all inmates in every
BOP institution be secured in their assigned cells/quarters, in order to stop
any spread of the disease. Only limited group gathering is afforded, with
attention to social distancing to the extent possible, to facilitate commissary,
laundry, showers, telephone, and computer access. Further, BOP has severely
limited the movement of inmates and detainees among its facilities. Though
there will be exceptions for medical treatment and similar exigencies, this step
as well will limit transmissions of the disease. Likewise, all official staff travel
has been cancelled, as has most staff training.

      All staff and inmates have been and will continue to be issued face
masks and strongly encouraged to wear an appropriate face covering when in
public areas when social distancing cannot be achieved.

       Every newly admitted inmate is screened for COVID-19 exposure risk
factors and symptoms. Asymptomatic inmates with risk of exposure are placed
in quarantine for a minimum of 14 days or until cleared by medical staff.
Symptomatic inmates are placed in isolation until they test negative for COVID-
19 or are cleared by medical staff as meeting CDC criteria for release from
isolation. In addition, in areas with sustained community transmission, all
facility staff are screened for symptoms. Staff registering a temperature of
100.4 degrees Fahrenheit or higher are barred from the facility on that basis
alone. A staff member with a stuffy or runny nose can be placed on leave by a
medical officer.

     Contractor access to BOP facilities is restricted to only those performing
essential services (e.g. medical or mental health care, religious, etc.) or those
who perform necessary maintenance on essential systems. All volunteer visits
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are suspended absent authorization by the Deputy Director of BOP. Any
contractor or volunteer who requires access will be screened for symptoms and
risk factors.

      Social and legal visits were stopped as of March 13, 2020 and remain
suspended at this time, to limit the number of people entering the facility and
interacting with inmates. In order to ensure that familial relationships are
maintained throughout this disruption, BOP has increased detainees’
telephone allowance to 500 minutes per month. Tours of facilities are also
suspended. Legal visits will be permitted on a case-by-case basis after the
attorney has been screened for infection in accordance with the screening
protocols for prison staff.

      Further details and updates of BOP’s modified operations are available to
the public on the BOP website at a regularly updated resource page:
www.bop.gov/coronavirus/index.jsp.

      In addition, in an effort to relieve the strain on BOP facilities and assist
inmates who are most vulnerable to the disease and pose the least threat to the
community, BOP is exercising greater authority to designate inmates for home
confinement. On March 26, 2020, the Attorney General directed the Director of
the Bureau of Prisons, upon considering the totality of the circumstances
concerning each inmate, to prioritize the use of statutory authority to place
prisoners in home confinement. That authority includes the ability to place an
inmate in home confinement during the last six months or 10% of a sentence,
whichever is shorter, see 18 U.S.C. § 3624(c)(2), and to move to home
confinement those elderly and terminally ill inmates specified in 34 U.S.C.
§ 60541(g). Congress has also acted to enhance BOP’s flexibility to respond to
the pandemic. Under the Coronavirus Aid, Relief, and Economic Security Act,
enacted on March 27, 2020, BOP may “lengthen the maximum amount of time
for which the Director is authorized to place a prisoner in home confinement” if
the Attorney General finds that emergency conditions will materially affect the
functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516 (to
be codified at 18 U.S.C. § 3621 note). On April 3, 2020, the Attorney General
gave the Director of BOP the authority to exercise this discretion, beginning at
the facilities that thus far have seen the greatest incidence of coronavirus
transmission. As of this filing, BOP has transferred 7,042 inmates to home
confinement. See Federal Bureau of Prisons, COVID-19 Home Confinement
Information, at https://www.bop.gov/coronavirus/.

       Taken together, all of these measures are designed to mitigate sharply
the risks of COVID-19 transmission in a BOP institution. BOP has pledged to
continue monitoring the pandemic and to adjust its practices as necessary to
maintain the safety of prison staff and inmates while also fulfilling its mandate
of incarcerating all persons sentenced or detained based on judicial orders.


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       Unfortunately and inevitably, some inmates have become ill, and more
likely will in the weeks ahead. But BOP must consider its concern for the
health of its inmates and staff alongside other critical considerations. For
example, notwithstanding the current pandemic crisis, BOP must carry out its
charge to incarcerate sentenced criminals to protect the public. It must
consider the effect of a mass release on the safety and health of both the
inmate population and the citizenry. It must marshal its resources to care for
inmates in the most efficient and beneficial manner possible. It must assess
release plans, which are essential to ensure that a defendant has a safe place
to live and access to health care in these difficult times. And it must consider
myriad other factors, including the availability of both transportation for
inmates (at a time that interstate transportation services often used by released
inmates are providing reduced service), and supervision of inmates once
released (at a time that the Probation Office has necessarily cut back on home
visits and supervision).

      Furthermore, as of this filing, notably, no inmates have positive COVID-
19 test results at FCI-Danbury.

Training of Other Nurses

      Defendant claims that she needs to extend her surrender date to
continue to work as a nurse training other nurses at NYC Health and Hospitals
(“Hospitals”). At the time of sentencing, this Court and the United States were
made aware that Defendant’s nursing license was set to expire on May 31,
2020, which is now nearly two months ago.

      The New Jersey Board of Nursing regulations require that a licensee shall
immediately notify the Board of Nursing if he or she is indicted or convicted of
a crime involving moral turpitude or a crime adversely relating to his or her
practice. See New Jersey Administrative Code, Title 13, Law and Public Safety,
Chapter 37, §13.37-5.9 (April 20, 2020). A check of the New Jersey Division of
Consumer Affairs revealed that Defendant’s nursing license status was
“ACTIVE” but that there is a “pending matter” before the licensing board. It is
not clear whether Defendant has self-reported her conviction, or if she has
done so, how much longer she will have an active license in any event.

       Notwithstanding Defendant’s questionable licensure status, she is clearly
not the sole individual able to provide nursing training at the Hospitals. In
fact, according to the Hospitals’ website, it employs
over 8,000 nurses. See
https://www.nychealthandhospitals.org/nurses4nyc/#:~:text=Nursing%20at%
20NYC%20Health%20%2B%20Hospitals,care%20for%20all%20New%20Yorker
s. The Hospitals will indeed be able to continue to function without
Defendant’s presence.


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Family Circumstances

      Defendant asserts that her mother in-law is undergoing physical therapy
post-surgery for a microdiscectomy, which is a minimally invasive procedure.
See https://www.mayoclinic.org/medical-professionals/orthopedic-
surgery/news/minimally-invasive-spine-surgery-hit-or-miss/mac-20430468.
As indicated supra, this Court has previously found that there was a failure to
demonstrate that alternative living arrangements were not reasonably
available. Additionally, more than ample time - over seven months since
Defendant was sentenced in December 2019 - has been afforded for any
necessary arrangements to be made for her mother in-law, particularly
knowing that her husband was also facing incarceration.

      As remains the case, Defendant still has no compelling family
circumstances preventing her surrender to FCI-Danbury on July 31, 2020, as
previously ordered.

                                  Conclusion

     For these reasons, the United States respectfully asserts that this Court
should deny Defendant’s fourth motion to extend her surrender date to
Danbury-FCI from July 31, 2020 to April 30, 2021.

                                               Respectfully submitted,

                                               CRAIG CARPENITO
                                               United States Attorney




                                               By: Joyce M. Malliet
                                               Assistant U.S. Attorney


cc:   Anthony Pope, Esq., via electronic mail
      Daniel J. Carney, Senior U.S. Probation Officer, via electronic mail




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